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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                     Chapter 11
AOG Entertainment, Inc., et al.,                           Case No. 16-11090 (SMB)

                        Reorganized Debtors.               (Jointly Administered)


CORE LITIGATION TRUST, by and                              Adv. Pro. No. 17-01053 (SMB)
through its duly appointed trustee, Peter
Kravitz,
                        Plaintiff,
                -against-
APOLLO GLOBAL MANAGEMENT,
LLC, et al.,
                        Defendants.


 ORDER GRANTING MANDATORY ABSTENTION AND ORDERING REMAND TO
                   CALIFORNIA STATE COURT

         Upon the timely motion dated April 27, 2017 [ECF Nos. 6, 7 (Adv. Proc. 17-01503

(SMB) (Bankr. S.D.N.Y.))] (the “Motion”)1 of the CORE Litigation Trust for mandatory

abstention, permissive abstention, and remand to California State Court, the declarations of Eric

Winston in support thereof dated April 27, 2017 and May 26, 2017 with exhibits thereto [ECF

Nos. 8, 18 (Adv. Proc. 17-01503 (SMB) (Bankr. S.D.N.Y.))], and the CORE Litigation Trust’s

reply memorandum in further support of the Motion [ECF No. 17 (Adv. Proc. 17-01503 (SMB)

(Bankr. S.D.N.Y.))]; and the above-captioned defendants’ (“Defendants’”) objection to the

Motion [ECF No. 13 (Adv. Proc. 17-01503 (SMB) (Bankr. S.D.N.Y.))] (the “Objection”) and the

declaration of Daniel Shamah in support thereof dated May 16, 2017 with exhibits thereto [ECF


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                Capitalized terms not defined herein have the meanings ascribed to them in the Motion.



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No. 14 (Adv. Proc. 17-01503 (SMB) (Bankr. S.D.N.Y.))]; and the Court having jurisdiction to

consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and

due and proper notice of the Motion having been provided to the parties affected thereby; and it

appearing that no other or further notice need be provided; and the Court having reviewed the

Motion and the Objection and held oral argument with respect to them on June 15, 2017; and the

Court having determined that the legal and factual bases set forth in the Motion establish just

cause for the relief granted herein; and upon all of the proceedings had before the Court, after

due deliberation and sufficient cause appearing therefor; and for the reasons set forth in the

Court’s Memorandum Decision Granting Motion For Remand Based On Mandatory Abstention

dated July 17, 2017 [ECF No. 23 (Adv. Proc. 17-01503 (SMB) (Bankr. S.D.N.Y.))] (the

“Decision”), which are incorporated in this Order as if set forth fully herein,

               IT IS HEREBY FOUND THAT:

               A.      The CORE Litigation Trust initially commenced an action against

Defendants (hereinafter, the “Action”) by filing the Complaint on December 12, 2016 in the

Superior Court for the State of California, County of Los Angeles (the “California State Court”).

The Action initially bore the caption Core Litigation Trust v. Apollo Global Management, LLC,

et al., Case No. BC643732 (Cal. Super. Ct.) and was pending before the Honorable Gregory

Alarcon (Department 36), Superior Court Judge for Los Angeles County.

               B.      Defendants removed the Action from the California State Court to the

United States District Court for the Central District of California (the “California Federal District

Court”) on February 3, 2017. Thereafter, the Action bore the caption CORE Litigation Trust v.

Apollo Global Management, LLC, et al., No. 17cv927-JFW (AGRx) (C.D. Cal.) and was

pending before the Honorable John F. Walter, United States District Judge for the Central




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District of California.

               C.         The California Federal District Court transferred venue of the Action

pursuant to 28 U.S.C. § 1404(a) to the United States District Court for the Southern District of

New York (the “New York Federal District Court”) on April 5, 2017 [ECF No. 65 (No.

17cv927-JFW(AGRx) (C.D. Cal.))].

               D.         The Action was docketed with the New York Federal District Court on

April 6, 2017, thereafter bore the caption CORE Litigation Trust v. Apollo Global Management,

LLC, et al., No. 17cv2658 (DLC) (S.D.N.Y.), and was pending before the Honorable Denise L.

Cote, United States District Court Judge for the Southern District of New York.

               E.         By Order dated April 20, 2017, the New York Federal District Court

referred the Action to this Court [ECF No. 71 (No. 17cv2658 (DLC) (S.D.N.Y.))]. The Action

now bears the caption CORE Litigation Trust v. Apollo Global Management, LLC, et al., Adv.

Proc. No. 17-01053 (SMB) (Bankr. S.D.N.Y.).

       IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED for the reasons set forth in the Decision.

       2.      The Objection is OVERRULED.

       3.      The Court shall ABSTAIN from exercising jurisdiction over the Action pursuant

to 28 U.S.C. § 1334(c)(2).      [SMB: 7/26/17]

       4.      The Action shall be and hereby is REMANDED pursuant to 28 U.S.C. § 1452(b)

to the California State Court, and:

               (a)     the clerk of this Court shall send certified copies of the Decision and this
            Order to the Clerk of the New York Federal District Court (the “SDNY Clerk”);

               (b)        the SDNY Clerk shall:

                          (1) TRANSFER the Action to the California Federal District Court and



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                     (2) send the clerk of the California Federal District Court certified copies
                  of the Decision and this Order; and

            (c)      thereafter, the clerk of the California Federal District Court shall:

                     (1) REMAND the Action pursuant to 28 U.S.C. 1452(b) to the California
                  State Court and

                    (2) send the clerk of the California State Court certified copies of the
                  Decision and this Order.

      5.    This Court shall retain jurisdiction solely to interpret and enforce this Order.

Dated: July 26th, 2017
       New York, New York
                                      /s/ STUART M. BERNSTEIN
                                    THE HONORABLE STUART M. BERNSTEIN
                                    UNITED STATES BANKRUPTCY JUDGE




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